154), ox.) Ly “CIVIL COVER SHEET
The FS 44 civil cover sheet and the inférmation contained herein neither ri

eplace hor supplement the filing and service of pleadings or other papers as required by law, except as
erence of the

provided by local rules of court. This form, approved by the Judicial Con

19 5946

nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I 6B THA tld Ee Sitan Mosquito

8 Nemo Clark Drive
Laurel, Mississippi 39443

{b) County of Residence of First Listed Plaintiff
{EXCEPT IN U.S. PLAINTIFF CASES)

(c} Attorneys (Firm Name,
Evan L. Frarik, Esa. .

Alan L. Frank Law Associates, P.C.
135 Old York Road, Jenkintown, PA 19046

Address, and Teleptone Santa 00

Deleware

oo,

CORA BUM AGO S

226 Rutgers Avenue
Swarthmore, PA 19081

County of Residence of First Listed Defendant Delaware County
(IN U.S, PLAINTIFF CASES ONLY)

  

 
  

NOTE: IN LAND CONDEMNATION CASES, USE QHE LOCATION OF
THE TRACT OF LAND INVOLVED.
Attomeys (if Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an °X" in One Box Only Til. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box far Plaintiy
(For Diversity Cases Onty) . aad One Box for Defendant)
O 1. U.S. Government 3 Federal Question PTF f DE. PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State oil & Incorporated or Principal Place Od G4
of Business In This State
O2 U.S. Government 4 Diversity Citizen of Another State {22 € 2 Incerporated and Principal Place 5 O5
Defendant findicate Citizenship of Parties in Hem Wi) of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation Oe 6
Foreign Country
IV. NATURE OF SUIT (Piace a "x" in Gne Box Only Click here for: Nature of Suit Code Descriptions.
LEZ SOONTRACT es ee TORTS [po WORFEETURE/PENALTY [eo BANKRUPTCY! 2 223] 2 OTHER STATUTES 2!
CJ 110 insurance PERSONAL INJURY PERSONALINJURY = [0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 (375 Faise Claims Act
J 120 Marine (3 310 Airpfane F 365 Personal Injury - of Property 21 USC 881 |) 423 Withdrawal 0 376 Qui Tam (31 USC
C7 130 Miller Act 5 Airplane Product Product Liability 690 Other 28 USC 157 3729{a))
O 140 Negotiable Instrament Liability (F 367 Health Care/ 0 400 State Reapportionment
0) 150 Recovery of Overpayment ( 3 Assault, Libel & Phannaceutical “PROPERTY RIGHTS ©] 0 410 Antitrust
& Enforcement of Judgmen Slander Personal injury C1 820 Copyrights 0 430 Banks and Banking
0 151 Medicare Act 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability 368 Asbestos Personal © 835 Patent « Abbreviated 0 460 Deportation
Student Loans 1 340 Marine Injury Product New Drig Application {0 470 Racketeer Influenced and
(Exchides Veterans) © 345 Marine Product Liability 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY [-.. EABOR | SOCIAL SECURITY =| 0 480 Consumer Credit
of Veteran's Benefits G 350 Motor Vehicle & 370 Other Fraud CF 710 Fair Labor Standards © 861] HIA (1395ff} OQ 485 Telephone Consumer
O 160 Stockholders’ Suits G 355 Motor Vehicle 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
G 190 Other Contract Product Liability © 380 Other Personal J 720 Labor/Management O 863 DIWC/DIWW (405(g)} |O 490 Cable/Sat TV
0 195 Contract Produce Liability |G 360 Other Personal Property Damage Relations 7) 864 SSID Title XVI O 850 Securities‘Commadities/
O 196 Franchise injury 7 385 Property Damage & 740 Railway Labor Act 0 865 RSI (405{2)) Exchange
(3) 362 Personal Injury - Product Liability 755 Family and Medical 0 890 Other Statutory Actions
Medical Malpractice Leave Act G 89) Agricultural Acts
LE REAL PROPERTY 2000 be CIV RIGHTS ©": [PRISONER PETIFEONS |) 790 Other Labor Litigation “FEDERAL TAX:-SUITS ©: | 893 Environmental Matters
C1 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: O 79] Employee Retirement 0 870 Taxes (U.S. Plaintiff G 895 Freedom of Information
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
( 230 Rent Lease & Ejectment 0 442 Employment CF SEO Motions to Vacate 0 871 IRS-Third Party 896 Arbitration
O 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 G 899 Administrative Procedure
O 245 Tort Product Liability Accommodations OF 530 General Act/Review or Appeal of
© 290 All Other Real Property G 445 Amer, w/Disabilities - | 535 Death Penaity IMMIGRATION 2) Agency Decision
Employment Other: O 462 Naturalization Application 1 940 Constilutionality of
G 446 Amer. w/Disabilities -] J 540 Mandamus & Other [C¥ 465 Other Immigration State Statutes
Other OF 550 Civil Rights Actions
G 448 Education [ 55% Prison Condition
OF 560 Civil Detainee -

 

Conditions of
Confinement

 

 

 

 

 

/V ORIGIN {Place an “X” int One Box Only)

M1 Original O2 Removed from O 3 Remanded from O 4 Reinstatedor © S Transferred from © 6 Muttidistrict O 8 Multidistrict
roceeding State Court Appellate Court Reopened Another District Litigation ~ Litigation -
(specify) Transfer Direct File

 

VL CAUSE OF ACTION

28 U.S.C. 1332

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversizy):

 

Defamation

 

Brief description of cause:

 

 

 

 

 

 

 

VII. REQUESTED IN "] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if dfinandedyn complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 75,000.00 JURY DEMAND: BM Yes} ONo
VIE. RELATEDCASE(S) TE ~
IF ANY (See instructions): JUDGE DOCKET NUMBER i = i { 2018
DATE SIGNATURE OF ATTORNEY OF RECORD
42/17/2019 oy 3 :
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA /Y- f SY, t
— hee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 8 Nemo Clark Drive, Laurel, Mississippi 3 » A
: et %4

Address of Defendant: 226 Rutgers Avenue, Swarthmore, PA 19081
Place of Accident, Incident or Transaction: Mississippi
RELATED CASE, IF ANY:
Case Number: Fudge: Date Terminated:
Civil cases are deemed related when Fes is answered to any of the following questions:
1. Is this case related to property included in an earlier numbered suit pending or within one year Yes

previously terminated action in this court? —
9. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes

pending or within one year previously terminated action in this court?
3. Does this case invelve the validity or infringement of a patent already in suit or any earlier Yes

numbered case pending or within one year previously terminated action of this court?
4, 1s this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes

 

 

 

 

 

  

case filed by the same individual? ona

    
  

Telated to any case now Pyning or within one year previously Terminated action in

neste EZ 311994
rney-al-Law / Pro Se Plaines Altorney 1D, # (if applicable)

{ certify that, to my knowledge, the within case Cis / © is
this court except as noted above.

12/17/2019

DATE:

 

 

CIVIL (Place a Vin one category only}

 

 

 

 

 

A Federal Question Cases: B, Diversity Jurisdiction Cases:
[] &. Indemnity Contract, Marine Contract, and All Other Contracts Cl 1, Insurance Contract and Other Contracts
[] 2, FELA [_] 2. Airplane Personal Injury
FE] 3. Jones Act-Personal Injury 3, Assault, Defamation
Ey} 4. Antitrust C1 4. Marine Personal Injury
H 5. Patent [] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [] 6 Other Personal Injury (Please specify):
C} 7. Civil Rights [] 7. Products Liabitity
[.] 8. Habeas Corpus [] 8. Products Liability -- Asbestos
H 9. Securities Act(s} Cases f] 9. Allother Diversity Cases

10. Social Security Review Cases (Please specify):
L] il. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

L Evan L. Frank , counsel of record or pro se plaintiff, do hereby certify:

 

 

 

ursuant to Local Civil Rule 53.2, § 3(c} (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
ceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

/| elief other than monetary damages is sought.

 
 

 

Gc DEC 17 2019
DATE: 1 2/1 7/201 9 " Sian here if appticabie 31 1 994
Attorney-ai-Law / Pro Se Plaintiff Attorney 1D. # (if applicable}

NOTE: A trial de novo will be a drial by jury only if there has been compliance with F.R-C.P. 38.

 

Cry, 609 (9/2018)

 

 

 

 

 
‘
y . IN THE UNITED STATES DISTRICT COURT
" FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

AC2T, Inc., d/b/a Spartan Mosquito CIVIL ACTION

¥. :
Colin Purrington NO. 19 5 9 46

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos ~ Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f} Standard Management — Cases that do not fall into any one of the other tracks.

 

 

 

12/17/19 Evan L. Frank Plaintiff

Date Attorney-at-law Attorney for
215.935.1000 215.935.1110 efrank@alfiaw.net
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

DEC 17 2019

 

 
    
 

van L. Frank, Esq.

Alan L. Frank Law Associates, P.C.
PA Bar No, 311994

135 Old York Road

Jenkintown, PA 19046
215-935-1000

215-935-1110 (fax)
efrank@alflaw.net

Counsel for Plaintiff

2946

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

AC2T, Inc., d/b/a Spartan Mosquito,

 

Civil Action
Plaintiff, : Case Number:
v. Jury Trial Demanded
Colin Purrington, :
Defendant.
COMPLAINT
Parties
1. AC2T, Inc, is a Mississippi corporation with a principal place of business

in Mississippi. AC2T, Inc. does business as “Spartan Mosquito.”
2. Colin Purrington is an adult individual residing in Swarthmore,
Pennsylvania.

Jurisdiction and Venue

 
3. This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)
because there is complete diversity of citizenship and the amount in controversy
exceeds $75,000.00 exclusive of costs and interest,

4, Venue is proper under 28 U.S.C. § 1391(b)(1) because the only Defendant
resides in this District.

Summary

5. This is a defamation case. The Plaintiff makes a product called the
Spartan Mosquito Eradicator, which is a mosquito control system. The Defendant has
been telling customers that the product puts them and their families at risk of
contracting diseases such as EEE and West Nile. He tells customers that the product
helps spread an invasive species, that Spartan Mosquito is scamming customers, and
that Spartan Mosquito lies to regulatory agencies. The Defendant makes false
allegations that the product does not even contain a pesticide (it does), that leaving out
the pesticide lets the product avoid government regulation (it is in fact government-
regulated), and that mosquitoes cannot fit inside the product to drink the insecticide
(they can, and there is literally a video on Spartan’s website of them doing so). He has
sent similar defamatory statements to state regulatory agencies and asked them to
outlaw the product.

6. The Defendant has been obsessively defaming the Plaintiff for the past

four months. In that time on social media alone, he has posted over 90 such comments

 
on other customers’ reviews on Amazon, over 40 on Twitter, and 25 on Facebook. He
has also written several articles about Spartan Mosquito on his personal website.
Finally, he has been sending similar defamatory statements to state regulatory agencies
and asking them to withdraw their approval of the Spartan Mosquito Eradicator.

7. The Defendant is a former biology professor at Swarthmore College. In
some of his statements, he uses his academic credentials in order to give authority to his
claims about Spartan Mosquito. In some statements, he claims to have done scientific
evaluations of the product. By couching his statements in terms of undisclosed
scientific evaluations and the Defendant’s own career in academia, the Defendant
conveys to the audience that his false allegations are not only factual, but are supported
by scientific rigor. Some of his statements are also worded as if referencing other
scientists’ studies in order to make it appear that the Defendant's statements reflect
consensus in the scientific community (e.g., “I’ve corresponded with over 100 scientists
and public health officials who all agree...”).

8. The Defendant has repeatedly made false allegations concerning the
performance of the Spartan Mosquito Eradicator, the science behind the product, the
health consequences of its use, and the Plaintiff's marketing. For example:

e The Spartan Mosquito Eradicator is a complete scam. I’m a scientist
and have evaluated them carefully. I found that mosquitoes are not
attracted to the devices at all. And I’ve corresponded with over 100
scientists and public health officials who all agree that the devices

attract nothing but fruit flies, ants, picnic beetles, and yellowjackets.
And everyone agrees that the solution inside (water, sugar, salt, and

3

 

 
yeast) wouldn't kill mosquitoes even IF mosquitoes managed to get
inside (the holes are too small). Indeed, professionals openly laugh
about this device and speculate why so many people leave glowing
testimonials. But, sadly, it’s not just a waste of money ~ it puts
people at risk of contracting mosquito-borne diseases. Le, if a
person relies on this device instead of, say, DEBT, they are putting
themselves and their families at increased risk of getting bitten by a
mosquito carrying EEE, West Nile, etc. This company is an
embarrassment for the state of Mississippi, which should have never
allowed it to operate in the first place. It should be shut down, and
several states (perhaps all) are planning to do exactly that. I hope
that happens before they start selling the things in Africa.

Exhibit A.

e Why should states issue “stop sell” orders on scams like the Spartan
Mosquito Eradicator? Because such devices are putting people’s
heaith at risk.

Exhibit B.

e This might be related to the efforts by @EPA and @amazon to remove
items that violate the Federal Insecticide, Fungicide & Rodenticide
Act. Spartan Mosquito and distributors often make health claims
e.g., which violate the FIFRA 25(b) exemption it enjoys.

Exhibit C.

¢ Spartan Mosquito Eradicators provide ideal habitat (water, sugar,
yeast) for larvae of spotted-wing drosophila (Drosophila suzukll), an
invasive pest of berries and soft-skinned fruit trees. Once mature
they escape through holes in the cap.” (top) “The spotted-wing
drosophila probably inflicts $1 billion in damage each year, too. And
plenty of losses in Mississippi, (right @MSBugBlues?), the home state
of the Spartan Mosquito Eradicator.

Exhibit D.

 

 

 
¢ Here’s a movie of the insects that ARE trapped inside a Spartan
Mosquito Eradicator. Yes, there are larvae inside. Alive. And some
of them are spotted-wing drosophila, an invasive pest of berries in
the United States. So the devices are contributing to the spread of a
pest.

Exhibit E.

* Spartan Mosquito Eradicator operates in a regulatory loophole,
though, because it *doesn’t* contain a regulated pesticide. If it had
actual insecticide it would absolutely need to convince regulators
that the device killed mosquitoes. It’s a successful scheme.

Exhibit F.

e The above claim suggests Spartan Mosquito misled states in
@eparegion2, @EPAregion3, @USEPASoutheast, @EPAregion6,
@EPAregion7, @EPARegion8, @EPAregion9, and @EPAnorthwest
when it declared sodium chloride is the active ingredient that kills
mosquitoes (an equally inane idea).

Exhibit G.

e Amazon has recently concluded that the Spartan Mosquito
Eradicator is a scam and have pulled the device...

Exhibit H.

« ...The design is so flawed in so many ways it seems as if the
company didn’t even care. They just want to sell it to people who
might not recognize it instantly as a scam.

Exhibit I.

e I’ve never seen a mosquito inside my Spartan Mosquito Eradicators
and I’ve also never seen a mosquito near it or on it. [looked through
the company’s website, Facebook page, and Instagram account and
there’s not a single photograph of a mosquito coming through one
of those holes. It’s all a fiction to get gullible people to buy it.
Exhibit J.

* ...just state that the seller has used deceptive advertising and that
the product doesn’t work.

Exhibit K.
Facts

9. Spartan Mosquito makes a product called the Spartan Mosquito
Eradicator, which is a mosquito control system.

10. Spartan Mosquito Eradicators are designed to substantially reduce a local
mosquito population.

11. The Defendant is a former biology professor at Swarthmore College.
However, he does not have any special qualifications concerning mosquitoes.

12. The Plaintiff is aware of approximately 150 statements by the Defendant
concerning either Spartan Mosquito (the company itself) or the Spartan Mosquito
Eradicator (the product). The defamatory statements appear on Amazon.com,
Facebook.com, Twitter.com, and the Defendant's own website.

13. For example, on October 25, 2019, The Defendant wrote:

The Spartan Mosquito Eradicator is a complete scam. I’m a scientist and

have evaluated them carefully. I found that mosquitoes are not attracted to

the devices at all. And I’ve corresponded with over 100 scientists and

public health officials who all agree that the devices attract nothing but fruit

flies, ants, picnic beetles, and yellowjackets. And everyone agrees that the

solution inside (water, sugar, salt, and yeast) wouldn't kill mosquitoes even
IF mosquitoes managed to get inside (the holes are too small). Indeed,

 

 
professionals openly laugh about this device and speculate why so many

people leave glowing testimonials. But, sadly, it’s not just a waste of money

— it puts people at risk of contracting mosquito-borne diseases. Le., if a

person relies on this device instead of, say, DEET, they are putting

themselves and their families at increased risk of getting bitten by a

mosquito carrying EEE, West Nile, etc. This company is an embarrassment

for the state of Mississippi, which should have never allowed it to operate

in the first place. It should be shut down, and several states (perhaps all)

are planning to do exactly that. [hope that happens before they start selling

the things in Africa.

Exhibit A.

14. The message makes the false statement that the product puts customers at
risk of contracting diseases such as West Nile or EEE. Because the statement makes
false allegations about the physical health and wellbeing of customers, the statement
tends to cause fear and alarm. The wording “themselves and their families at
increased risk...” exacerbates this invoking more alarm in potential customers.

15. The message also makes the false statement that the holes at the top of the
device are too small for mosquitoes to enter. The statement is false - in fact, Spartan has
posted videos on its website of mosquitoes entering and exiting the holes. Since the
false statement attempts to undermine the essential function of the product (mosquitoes
enter, drink the solution, and then leave) it conveys to the reader that the product
designed to control mosquitoes literally cannot do anything about mosquitoes.

16. The message also makes the false statement that the devices do not attract

mosquitoes. By making another false statement that goes to the manner in which the

 
product works (the device attracts the mosquitoes in the first place, so that they can
drink the solution), the statement conveys to the reader that product cannot work.

17. The message also begins by stating that the product is a scam. By alleging
that the product is a scam, the Defendant attacks the honesty and integrity of the
Plaintiff. By making that allegation in context with other allegations about the danger
to customers, the message conveys that it is customers who are being scammed.

18. The message also states that the author is a scientist himself, that he has
evaluated the product carefully, and that he has corresponded with over 100 scientists
and public health officials who are all in agreement. By couching the statement in such
terms, the Defendant conveys not only that the statements are factual, but that there is
also a scientific certainty.

19. Also on October 25, 2019, the Defendant wrote a false statement that the
devices are contributing to the spread of an invasive species, the spotted-wing
drosophila. Exhibit E. The statement is defamatory because by alleging that the
staternent contributes to the spread of an invasive species, it invokes connotations of
environmental harm that are associated with invasive species.

20. On October 11, 2019, the Defendant wrote that “Spartan Mosquito
Eradicator operates in a regulatory loophole, though, because it “doesn’t* contain a
regulated pesticide. If it had actual insecticide it would absolutely need to convince

regulators that the device killed mosquitoes.” Exhibit F. The statement is false because

 
the product does contain a pesticide, and it is in fact regulated. The statement is
defamatory because it attempts to make it appear that the product is not even capable of
killing mosquitoes for lack of a pesticide. The Defendant frames the statement in terms
of the false allegation that the product is in a regulatory loophole by not having a
pesticide at all.

21. Inthe same message, the Defendant wrote, “It’s a successful scheme.” In
a follow-up message, the Defendant then wrote that it is “marketed to folks who are
predisposed to believe the name is truthful.” These two statements directly attack the
honesty and business practices of the Plaintiff. The statements are also defamatory in
the context of beginning of the message — the Defendant alleges that the Plaintiff dupes
customers by first not including a pesticide (which is false, there is a pesticide) and then
avoiding regulation (which is also false, the product is regulated).

22, On October 14, 2019, the Defendant wrote the false statement that
“Spartan Mosquito Eradicators provide ideal habitat (water, sugar, yeast) for larvae of
spotted-wing drosophila (Drosophila suzukii), an invasive pest...” Exhibit D. The
statement is defamatory because by alleging that the statement contributes to the spread
of an invasive species, it invokes connotations of environmental harm that are
associated with invasive species.

23, On October 12, 2019, the Defendant wrote the false statement that the

product is “putting people’s health at risk”. Exhibit B. The statement is defamatory

 
because it tries to make users fear for their personal health. The statement also begins
by calling the product a scam, which in context both attacks the honesty of the Plaintiff
and conveys that deception is used in selling the product.

24. On October 10, 2019, the Defendant wrote that “Spartan Mosquito and
distributors often make health claims e.g., which violate the FIFRA 25(b) exemption it
enjoys.” Exhibit C. The statement is false because the Plaintiff does not make health
claims about the Spartan Mosquito Eradicator. By attributing false statements to the
Plaintiff in the context of federal law, the statement also falsely conveys that the Plaintiff
is breaking federal law.

25. The Defendant has also made dozens of statements that the product is a
scam, that the company deceives customers or takes advantage of gullible people, or
similar allegations.

26. The Defendant made the statements either with knowledge of their falsity
or with reckless disregard for their falsity.

27. Asaresult of the Defendant’s conduct, the Plaintiff has suffered damages.

COUNT I
DEFAMATION

28. The Plaintiff incorporates by reference the foregoing allegations.
29. The statements at issue have a defamatory character because they falsely

accuse the Plaintiff of putting people at risk of contracting diseases; spreading an

10

 

 
invasive species; violating federal law; misleading state agencies; scamming customers;
and using deceptive advertising.

30. Many of the statements are defamatory per se because they accuse the
Plaintiff of acting improperly or committing misconduct with regards to its business;
others accuse the Plaintiff of spreading diseases.

31. The recipients of the defamatory statements understood both the
defamatory character of the statements and the statements’ application to the Plaintiff.

32. The Defendant acted with knowledge of the statements’ falsity or reckless
disregard for the statements’ falsity.

33.  Asaresult of the Defendant's conduct, the Plaintiff has suffered damages.

WHEREFORE, the Plaintiff demands judgment in its favor and against the
Defendant for damages in excess of $75,000, interest, costs, attorney’s fees, punitive
damages, an injunction prohibiting further defamatory statements and directing the
Defendant to retract those complained of in this case, and. such other relief as the Court
may deem just and proper.

COUNT II
COMMERCIAL DISPARAGEMENT

34. The Plaintiff incorporates by reference the foregoing allegations.
35. The statements at issue have a commercially character because they make

false allegations about the Plaintiff's product: that it puts people at risk of contracting

11

 

 
diseases; spreads an invasive species; violates federal law; got to market through
misleading state agencies; and is marketed to customers deceptively.

36. The statements were intended to cause financial loss to the Plaintiff, in
that their purpose was to disparage the Plaintiff's product in order to dissuade potential
customers.

37, The recipients of the statements understood both the commercially
disparaging character of the statements and the statements’ application to the Plaintiff.

38. The Defendant acted with knowledge of the statements’ falsity or reckless
disregard for the statements’ falsity.

39. Asaresult of the Defendant’s conduct, the Plaintiff has suffered damages.

WHEREFORE, the Plaintiff demands judgment in its favor and against the
Defendant for damages in excess of $75,000, interest, costs, attorney’s fees, punitive
damages, an injunction prohibiting further defamatory statements and directing the
Defendant to retract those complained of in this case, and such other relief as the Court

may deem just and proper.

12

 

 
December 16, 2019

Respectfully submitted,

Ce neon

 

Evan L. Frank, Esq.

PA Bar No. 311994

Alan L. Frank Law Associates, P.C.
135 Old York Road

Jenkintown, PA 19046
215-935-1000

215-935-1110 (fax)
afrank@alflaw.net

Counsel for Plaintiff

DEMAND FOR JURY TRIAL

The Plaintiff demands a trial by jury for all counts so triable.

December 16, 2019

13

Respectfully submitted,

ocean

 

Evan L. Frank, Esq.

PA Bar No. 311994

Alan L. Frank Law Associates, P.C.
135 Old York Road

Jenkintown, PA 19046
215-935-1000

215-935-1110 (fax)
afrank@alfiaw.net

Counsel for Plaintiff

 

 

 
  

 

 
 

 

Hessayy oe . i
Bunun
au) Buiyas ves day] qidjeg sua Be Tey edoy | 12u) Aoexa op 0) Guruue
ajp ine sdpuad) saiwis muaass Due “UMGO INS Sq pmMoYS }) Sle 1syy Bu]
Ul alaiado of F DSO sensu SABY DINOUSs YoIUM IddISSISSIY [0 Ble]s Sup JO}
WaWSSBUEqWS UB si AUBCWUOD SILL “219 “BIN 1SafA “BIS Curves ounbsouw

e Aq ued 6 Gueé so ONS DSSBSIOUL LE SAIN: JIOU] PUB SAA/SSWUSU)
Sunind ae ASul Lag ‘hes (6 peelsul sainep siul uo Saya! vosued
Bi a) Saseasip BuUOgOUNBSOW B CUMOB MUGS £9 ¥SU e ee snd iy

*

ABUOU 30 i 0 aise B Sn ee Sat

      

“‘pgapu ‘
iad ssonnbsaur uy “upinow.

 

SU} wu) Saezbe aucvuaAs oUYy 2 p B

Qik uns ing Buijou ese secinac aul en aei5e 12 er SIEIDINO uyesy
sugnd DUE SISHUSIOS OOL JSA0 UUs PSnUCdSa09 SA] DUY He ie SSainap sul
0} pajoeuue jou qe seounes OU PEUL cure, ‘ . qmaue2 voli eaten Sabu
OUR ISHUBIOS B wu.) WEDS aiaiduind @ si sMeNpeIy OUNDSOp) UBLIEdS SUL

 

eee “OUNESOH |

 

 

 
It is Hllegat to sell Spartan Mosquito Eradicators in
Idaho, New Mexico, South Dakota, Connecticut, and D.C.

"Specifically, these untested pesticides often mislead-
ingly and falsely claim to control public health pests
with the result that consumers mistakenly and detrimen-
tally rely upon these pesticides to protect their health,”

“If a claim is not supported by data, it is therefore con-
sidered false or misleading and does not qualify for the
25(b) minimum risk exemption. Lack of supporting data
could be grounds for denial of state registration.”

Association of American Pesticide Control Officials -
(AAPCO) 25(b) Workgroup ae BIT

 

 

 
SPARTAN MOSQUITO ERALSLAEOK £ ull foanen 3
Flack (1G Pubes} thent Wings Fated Gilde:
Salut, Mec Cle ther Flas Sart fern

it Trap. Misuag Pree Rasky ad Garden Pads

AbCeah af Lb shaghite
fesGh piv i ie way 19

Asdendiy niteculter-brine: vite eal canines dalle séelioa in... ;
Jsarvainst bua bisa churb aoe taped bee Vioaeatae 5
memia EXHIBIT

Gee onset ge BA SP ,

 

 

 
 

 

tot a
Biel canbe ees

reyes

 

 

 

 

 

 

 

fae ALL-STATE LEGAL®

 
 

 

 

tin Purcingian

   

3a

 

  

   

ohh Pracie Star. rs

 

cr They are Tee

 

to? berries in tre United

  

COnmbooulrg bo

 

 

 

 
Pres (e) rer ie anit et
eT LY Mi Cee ety

EXHIBIT

 

 

 
Tree) AC RUC EL PCR SE Lo Oe

Riri nr Mn eieniie.:
ree)

 

 

 

 
 

 

 

 

CHINOSOLU UBLIEMS LUMo0 UOZeUTY

i

       

BISUIOVEND WLOYUI 0
[ ShEUDEIS OUNDSsoW UBLEdS Uy

SSA OSs] PAO? | 9 pioat

ae es,

eau}

 

      

 
 
 
 
 

SI UMULUOD % hein

ston SO ueBuLung uy

   

a

ee
a

 

 

 
 

 

jmod NUR, BOUBLED Sul US Ou ]RUOTHOoe
Aue wp Guo onbsourDieowe re gels BIA SN 0] NO Yes! SSEoig
- UOD IH lyons? HHIBIONS Sy [OUOT GUNS ueTLeuNy TAT

=

 

a & BIBYS oF TUSUUO mf

 

 

 
 

 
 
 

awa als TW

 

ASO © ABET A

r

“eos 2 se Siugisul yw eziuGeves jou 1G ous ardoad 01H Tes 0) lua jen] Meu) (S182 uess 2.uaig A weEclugs
Tos UW wjesuned squsipsiGu Sup Suippe ynoge uennes 10 ps AB ISN

 

BU} JO SIRUMO BUI SF TLMees Hi Sfpin AUPLU OS Ul Dees BSE uoisep SUL AON IS

LCE Lun UOT

 

 

WaHQ wWasany ‘Ag yes Syste? 5 Guraays

wuBUABOD

 
 

 

suayreuuiee ye wed

 
 

Sip ot s1uaipalSu! JO % FUN UIA Weya yy ion! pug sueisiue? ueleds Ayduim/foas

* HAR
‘suedioud uo ApaeIe}S PSA LUGeOP PING seuapew Gen oynbsoiw ehsey ssn a UCHUSA Tews e Ajetseg osm Ulebe 06 07 poo aa nod ue [yas ‘aWwoy
u

(EMILY Say] GHA YSN UsAa Tey Fei SAC G 6G Alaa HSH? JO Gu Aaa BA OF ane nod yeu eam a Ag OeHOO, PaO Bue WFOAA PL AAQY PLE Seu ul
rediuo aul “S1 Guu) BULL
Pu L 83D Coup Pile ‘Sisyl

ieSns aug Gunes sie7s

Seyi ANIONS SASS BY BBYAA SMBIAIDIUL JO JaqUIMU & UaG sey YdSUpy AUIS TUep|sasc-0D Aued.uo? ‘auddue w
SLBA pyod ul dm Byers 71M JSPeA “Luge oq 09 S

yfinanpy Slaap ain iu
URL] S59] UIA IESE SIE] 4G PUR INES SELL BIE Su sips6u SUL SEU Te si Tey Gen onnasaus & $1 Siu

ig

“SROTABSOLU SIE!

 

ui peddew 1a5 Asuy ‘(den asou
ugnIas funed 3

 

BSBLIG BEE

      

BLOS

“BJO Epos & pue LF 10} SWOY Ze SILA aYeWI UTD NO, spaoudiang ©

ONUuaIEA ‘a
 

 

 

 

 

4p Ang of aidoad syqpn6 185 07 vomay 2 ne o.11 “se70u4 a50u1 Jo Bun USnon) GuIoG onmbsow e@ po udeuboroud

sifins 2 10u fauRu QUP TuNooe Weber Due eSed yooqatey ‘B1sqas sAuedWo2 ay YSN SSxOO] | YUGIOH sesu OTINDsOU 2 LSes ISAdu sje BAY uP SIOlPIIDeIg OTINDsOLy UPeds AU SpIsul OURDSOU! e URS JAASU BA

 

a

oO} Fass | sustecdod aw

Ay

 

Is eS SHOLIEELISIG NO SLSEHT
SU) PSU! SID C1 waul asnes ued 1eU] Due Tees te Sau alos Ue7 Sues ey) UeFSMOH UNS PUE LOR MTOS Sup yap “BGM BU] 18]us ApeddAL SBOUN HSU! “WBUT UL SID 03 Sao UNDSOW soy CeuGiseo you ale seqny sy

 

WOIeRP EL

 

      
 

“LEY THOS,

 

 

 
 

SOMINS

PEAR Sub UNG

   

 

uonsank say Jomsuy

 

Lo perce

 

2391p pue Aeme Ay 0} pasoddns Aayl ae
HO aqni au} ul ap UaY) pue UOINTOS 34} YULIP 03 pesoddns soyNbsow su} asy “UOISNJUOD alos aq 0} StuIaas B1dy |
 

 

 

sueva ],Usa0p tnpesd aU] lun sue Suisnespe aandazen pasn sry Japes FUT TEUG aIeys ISM “AP IIAP WOTeUy OF EPO E592 UED OA

asnge yiodey | on

 

207) 2 5acs7q | S1UsWIaD A

   

yuo due $j: abe

Hae Eo P-L Gurus

ponpo.d sug NoOGe sucrsand ie 88s

 

 

 

varysand sip Jansuy

 

ASS? WG Sexe

“AduOW Jay Bulpunjes Ssndsip 01 WwW IDeIUOD
Auedwio 3y} Buijsanbas wie | “syuaipeuBui jo squad may e AJUO 4101 OSS pied ays ‘asayy paseysind sayjoW Ay

 
